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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                4:11CR3032-2
                                          )
             V.                           )
                                          )
ADELFO JUNIOR SOTO,                       )                   ORDER
                                          )
                    Defendant.            )
                                          )


       The defendant has filed a section 2255 motion, but it is not signed under penalty
of perjury. Therefore, it is ordered that:

      (1)    The motion under 28 U.S.C. § 2255 (filing 158) is denied.

      (2) The defendant has until May 27, 2013 to file a new motion properly
signed under penalty of perjury.

      DATED this 25th day of April, 2013.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge
